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                                                                      CtERK, U.S. DISTF?~~T COURT
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  3                                                                        ,1UN 2 D 2013.
                                                                                        CALIFORNIA
 4                                                                   CENTRAL DI ~RlGT F
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 8                             LJ1~IITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
 10
11     Roy Payan, Portia Mason, The                 Case No. 17-CV-1697-SVW(SK)
12     National Federation ofthe Blind,
       Inc. and The National Federation of
13     the Mind of California, Inc.,                SPECIAL VERDICT FORM
14               Plaintiffs,

15                     v.

16     Los Angeles Community College
       District,
17
                 Defendant.
18
19
20
            We, the Jury, in the above-entitled case, answer the questions submitted to
21
      us as follows:
22
23
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 1   1.   Was Defendant's failure to provide Mr. Payan with a reasonable
 2   accommodation to give Mr. Payan meaningful access to course materials in the
 3   math classes in which Mr. Payan enrolled, as stated on page 11 of the Court's
 4   instructions to you, done intentionally or with deliberate indifference?
 5
 6        Check one:               Yes~           No
 7
 8
 9   2. Was Defendant's failure to provide Ms. Mason with a reasonable
10   accommodation to give Ms. Mason meaningful access to the course handbook
11   used in Professor Blythe Daniel's abnormal psychology class, as stated on page 11
12   of the Court's instructions to you, done intentionally or with deliberate
13   indifference?
14
15        Check one:               Yes            No
16
17
18   3. Was Defendant's failure to provide blind students with a reasonable
19   accommodation to give blind students meaningful access to Defendant's website
20   for Los Angeles City College, as stated on pages 12 of the Court's instructions to
21   you, done intentionally or with deliberate indifference?
22
23        Check one:               Yes            No
24
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 1   4. Was Defendant's failure to provide blind students with a reasonable
 2   accommodation to give blind students meaningful access to library databases, as
 3   stated on page 12 of the Court's instructions to you, done intentionally or with
 4   deliberate indifference?
 5
 6       Check one:                 Yes            No
 7
 8       If your verdict was "Yes" as to any ofthe above questions, please proceed to
 9   Question 5. Otherwise, you have completed this verdict form.
10
11
12   5. We find that Plaintiffs were damaged in the following amount:
13
14       Mr. Payan:                                     ~ O ~~
15
16       Ms. Mason:              O
17
18
19       When you have finished answering all applicable questions, please sign and
20   date the verdict form, and notify the Court that the jury has finished deliberating.
21
22
23
24   DATED: June Zn 2019
25
26                                                  REDACTED AS TO FOREPERSON'S NAME

27                                                        Jury Foreperson
28


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